                                      CASE 0:17-cr-00157-MJD-HB Doc. 3 Filed 06/08/17 Page 1 of 1

                                                  IN THE UNITED STATES DISTRICT COURT
                                                     FOR THE DISTRICT OF MINNESOTA

                                                      INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                      )            COURTROOM MINUTES - CRIMINAL
                                                               )                 BEFORE: Hildy Bowbeer
                                         Plaintiff,            )                  U.S. Magistrate Judge
                                                               )
   v.                                                          )    Case No:               17-mj-499 HB
                                                               )    Date:                  June 8, 2017
Todd Seaver Knutson,                                           )    Courthouse:            St. Paul
                                                               )    Courtroom:             6B
                                         Defendant.            )    Time Commenced:        2:06 p.m.
                                                               )    Time Concluded:        2:15 p.m.
                                                               )    Time in Court:         9 minutes
                                                               )

APPEARANCES:
   Plaintiff: Andrew Dunne, Assistant U.S. Attorney
   Defendant: Manny Atwal, Assistant Federal Public Defender
                         FPD           To be appointed

   Date Charges Filed: 6/7/2017                       Offense: possess with intent to distribute methamphetamine; felon in
                                                                                    possession of a firearm

    Advised of Rights

on         Complaint

 Government moves for detention.
Motion is  granted, temporary detention ordered

Next appearance date is June 12, 2017 at 3:00 p.m. before U.S. Magistrate Judge David T. Schultz, CR 9E Mpls for:
  Detention hrg         Preliminary hrg




Additional Information:
                                                                                                                     s/Janet Midtbo
                                                                                                     Signature of Courtroom Deputy




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